               Case: 1:22-cv-06478 Document #: 42-1 Filed: 04/25/23 Page 1 of 5 PageID #:756


Rachael Aguas

From:                       Cliff Horwitz <cliff@horwitzlaw.com>
Sent:                       Tuesday, April 18, 2023 3:54 PM
To:                         Randall Slade; Michael D. Ditore; Rachael Aguas; CL Mail; Sung Figurelli; Kimberly Scalise; g-c-
                            a@msn.com; gregory.armstrong@armstronglawgroup.com; Gabe Drury
Cc:                         Robert Franco; John Moroney; Cathie Kuldanek; David Chroust
Subject:                    RE: Theresa Tran and Chicago AquaLeisure, LLC Admiralty Claim; 1:22-CV-06478


This boat should remain unspoiled and protected until such time as defendant’s deposition is taken and then destructive
testing is done

cliff

From: Randall Slade <randall.slade@francomoroney.com>
Sent: Tuesday, April 18, 2023 3:52 PM
To: Cliff Horwitz <cliff@horwitzlaw.com>; Michael D. Ditore <mdd@corboydemetrio.com>; Rachael Aguas
<rachael.aguas@francomoroney.com>; CL Mail <clmail@horwitzlaw.com>; Sung Figurelli <sung@horwitzlaw.com>;
Kimberly Scalise <kscalise@corboydemetrio.com>; g-c-a@msn.com; gregory.armstrong@armstronglawgroup.com; Gabe
Drury <gabe@horwitzlaw.com>
Cc: Robert Franco <robert.franco@francomoroney.com>; John Moroney <john.moroney@francomoroney.com>; Cathie
Kuldanek <cathie.kuldanek@francomoroney.com>; David Chroust <david.chroust@francomoroney.com>
Subject: RE: Theresa Tran and Chicago AquaLeisure, LLC Admiralty Claim; 1:22-CV-06478

Cliff,

We are willing to provide an inspection of the boat prior to any sale. That said, our clients want to sell the boat, and we
see no reason that they should prohibited from selling once all parties are afforded an opportunity to review and
inspect. Is there any objection to our offer of reasonable compromise?

Thank you,

Randall W. Slade
FRANCO MORONEY BUENIK                  LLC
500 West Madison Street, Suite 3900
Chicago, Illinois 60661-2510
Direct: 312-466-7225
Main: 312-469-1000
Fax: 312-469-1011
randall.slade@francomoroney.com
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Please note our new office suite number – see above.
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From: Cliff Horwitz <cliff@horwitzlaw.com>
Sent: Monday, April 3, 2023 9:02 AM
                                                                                1
                                                                                                                                                  EXHIBIT
                                                                                                                                                         A
               Case: 1:22-cv-06478 Document #: 42-1 Filed: 04/25/23 Page 2 of 5 PageID #:757

To: Randall Slade <randall.slade@francomoroney.com>; Michael D. Ditore <mdd@corboydemetrio.com>; Rachael Aguas
<rachael.aguas@francomoroney.com>; CL Mail <clmail@horwitzlaw.com>; Sung Figurelli <sung@horwitzlaw.com>;
Kimberly Scalise <kscalise@corboydemetrio.com>; g-c-a@msn.com; gregory.armstrong@armstronglawgroup.com; Gabe
Drury <gabe@horwitzlaw.com>
Cc: Robert Franco <robert.franco@francomoroney.com>; John Moroney <john.moroney@francomoroney.com>; Cathie
Kuldanek <cathie.kuldanek@francomoroney.com>; David Chroust <david.chroust@francomoroney.com>
Subject: RE: Theresa Tran and Chicago AquaLeisure, LLC Admiralty Claim; 1:22-CV-06478

Plaintiff objects to the selling of the boat and demands that it be preserved.


Clifford W. Horwitz, Esq.
Horwitz, Horwitz and Associates, Ltd.
25 E. Washington Ave, Suite 900
Chicago, IL 60602
cliff@horwitzlaw.com
cell 312-576-3401
direct line 312-564-7442
Fax: 312-564-7443



From: Randall Slade <randall.slade@francomoroney.com>
Sent: Monday, April 3, 2023 8:47 AM
To: Michael D. Ditore <mdd@corboydemetrio.com>; Rachael Aguas <rachael.aguas@francomoroney.com>; Cliff Horwitz
<cliff@horwitzlaw.com>; CL Mail <clmail@horwitzlaw.com>; Sung Figurelli <sung@horwitzlaw.com>; Kimberly Scalise
<kscalise@corboydemetrio.com>; g-c-a@msn.com; gregory.armstrong@armstronglawgroup.com; Gabe Drury
<gabe@horwitzlaw.com>
Cc: Robert Franco <robert.franco@francomoroney.com>; John Moroney <john.moroney@francomoroney.com>; Cathie
Kuldanek <cathie.kuldanek@francomoroney.com>; David Chroust <david.chroust@francomoroney.com>
Subject: RE: Theresa Tran and Chicago AquaLeisure, LLC Admiralty Claim; 1:22-CV-06478

Good morning everyone,

Please be advised that our clients are looking to sell La Aquavida, the boat at issue in this matter. We wanted to provide
everyone with advance notice in case anyone wants an inspection before the boat is sold. Please let us know if you have
any questions or need anything further.

Thank you,

Randall W. Slade
FRANCO MORONEY BUENIK                  LLC
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Chicago, Illinois 60661-2510
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               Case: 1:22-cv-06478 Document #: 42-1 Filed: 04/25/23 Page 3 of 5 PageID #:758
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From: Michael D. Ditore <mdd@corboydemetrio.com>
Sent: Thursday, March 23, 2023 2:04 PM
To: Randall Slade <randall.slade@francomoroney.com>; Rachael Aguas <rachael.aguas@francomoroney.com>;
cliff@horwitzlaw.com; clmail@horwitzlaw.com; sung@horwitzlaw.com; Kimberly Scalise
<kscalise@corboydemetrio.com>; g-c-a@msn.com; gregory.armstrong@armstronglawgroup.com; Gabe Drury
<gabe@horwitzlaw.com>
Cc: Robert Franco <robert.franco@francomoroney.com>; John Moroney <john.moroney@francomoroney.com>; Cathie
Kuldanek <cathie.kuldanek@francomoroney.com>; David Chroust <david.chroust@francomoroney.com>
Subject: RE: Theresa Tran and Chicago AquaLeisure, LLC Admiralty Claim; 1:22-CV-06478

Counsel,

As you are aware, Claimants do not intend to address underlying substantive issues of the limitation action at this time
based on our previous agreement and the Court’s recent order.

You will recall that the Parties submitted a joint status report to the Court on March 10, 2023. The status report
addressed this issue directly. Specifically, the report included the fact that Claimants objected to proceeding with
discovery in the limitation action in light of our intention to file a joint motion to lift the injunction and stay the
limitation action. Following that, the Parties then agreed to a schedule that contemplated briefing and resolving that
motion. The only disagreement was with the timing of the briefing schedule, which the Court has resolved.

There was no disagreement expressed to the plan of resolving Claimants’ motion first and subsequently proceeding with
discovery, if necessary. In essence, the Parties have agreed to delay addressing substantive issues in the limitation
action unless/until it is necessary considering the motion to dissolve/stay. Per the most recent minute entry by Judge
Gottschall in response to the above, it appears the Court shares that preference.

Please do not hesitate to give me a call if you wish to discuss this further.

Best regards,

Mike


 Michael D. Ditore
 CORBOY & DEMETRIO
 33 N. Dearborn St., 21st floor
 Chicago, IL 60602
 Phone: 312-346-3191 (office)
        312-346-5562 (fax)
 mdd@corboydemetrio.com
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From: Randall Slade <randall.slade@francomoroney.com>
Sent: Thursday, March 23, 2023 11:32 AM

                                                                                3
               Case: 1:22-cv-06478 Document #: 42-1 Filed: 04/25/23 Page 4 of 5 PageID #:759

To: Rachael Aguas <rachael.aguas@francomoroney.com>; cliff@horwitzlaw.com; clmail@horwitzlaw.com;
sung@horwitzlaw.com; Michael D. Ditore <mdd@corboydemetrio.com>; magonzalez@corboydemetrio.com; Dana
Ligue <dligue@corboydemetrio.com>; Tom Cleary <tcleary@corboydemetrio.com>; g-c-a@msn.com;
gregory.armstrong@armstronglawgroup.com
Cc: Robert Franco <robert.franco@francomoroney.com>; John Moroney <john.moroney@francomoroney.com>; Cathie
Kuldanek <cathie.kuldanek@francomoroney.com>; David Chroust <david.chroust@francomoroney.com>
Subject: RE: Theresa Tran and Chicago AquaLeisure, LLC Admiralty Claim; 1:22-CV-06478

Counsel,

On February 20, 2023, we served the attached Interrogatories and Production Requests to each of your clients, the
Claimants in the above captioned matter: Lana Batochir, Marija Velkova, and Jacob Houle. Pursuant to FRCP 33 and 34,
responses were due yesterday but we have not received responses from any Claimant. Pursuant to FRCP 37(a), please
provide your responses so that we are not forced to file a Motion to Compel.

Please feel free to contact me with any questions or to discuss further.

Thank you,

Randall W. Slade
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Main: 312-469-1000
Fax: 312-469-1011
randall.slade@francomoroney.com
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From: Rachael Aguas <rachael.aguas@francomoroney.com>
Sent: Monday, February 20, 2023 1:33 PM
To: cliff@horwitzlaw.com; clmail@horwitzlaw.com; sung@horwitzlaw.com; mdd@corboydemetrio.com;
magonzalez@corboydemetrio.com; dligue@corboydemetrio.com; tcleary@corboydemetrio.com; g-c-a@msn.com;
gregory.armstrong@armstronglawgroup.com
Cc: Randall Slade <randall.slade@francomoroney.com>; Robert Franco <robert.franco@francomoroney.com>; John
Moroney <john.moroney@francomoroney.com>; Cathie Kuldanek <cathie.kuldanek@francomoroney.com>; David
Chroust <david.chroust@francomoroney.com>
Subject: Theresa Tran and Chicago AquaLeisure, LLC Admiralty Claim; 1:22-CV-06478

Dear Counsel:

Attached please find Defendants, Theresa Tran and Chicago AquaLeisure, LLC’s, written discovery requests to Claimants:
Lana Batochir, Marija Velkova and Jacob Houle.


                                                                                4
                 Case: 1:22-cv-06478 Document #: 42-1 Filed: 04/25/23 Page 5 of 5 PageID #:760

Thank you,

Rachael Aguas, Legal Assistant
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